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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION
 Ann Marie Attridge                 §
                                    §
                          Plaintiff § Civil Action No.:
                                    §
                                                    5:20-cv-00205-OLG
                                    §
 V                                  §
                                    §
                                    §
                                    §
 Colonial Savings, F.A. and         §
 Trans Union, LLC
                                    §
                        Defendant
                                    §

                  Plaintiff’s Objections to Defendant’s Pre-Trial Filings

                               ____________________


Plaintiff and Defendant conferred concerning the below objections and Plaintiff is

optimistic that further conferring will resolve them. In the meantime, per the Local Rules

and the Court’s order, Plaintiff files her objections to Defendant’s Pre-Trial filings.


Plaintiff’s Objections to Defendant Proposed Stipulated Facts (Docket No. 60)

       1. Plaintiff objects to Defendants list of proposed stipulated facts under Federal

          Rule of Evidence 408. This rule bars the admissibility of compromise offers and

          negotiations.

       2. Settlement agreements have historically been favored by courts in this country

          as they help expedite the litigation process and de-clutter dockets. It follows
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         then, that “most courts have deemed it against public policy to subject a party

         who has compromised a claim to the risk of admitting agreements between that

         party and a third party to compromise a claim in subsequent litigation arising

         out of the same transaction.” 2 Weinstein’s Federal Evidence § 408.04.

         Hawthorne v. Eckerson Co., 77 F.2d 844,847 (2nd Cir. 1935) (settlement by

         defendant with passenger in plaintiff’s car is not admissible). Waverly Partners,

         LLC, 2012 U.S. Dist. LEXIS 131916, at *7 (W.D.N.C. Sept. 17, 2012) (4th Cir.

         2012) (Because Plaintiff’s Title VII claim arose from the same operative set of

         facts as the instant claim, the Court shall adopt the position that Rule 408 bars

         the contemporaneous presentation of Plaintiff’s Title VII settlement to the

         jury). Scaramuzzo v. Glenmore Distilleries Co., 501 F.Supp. 727, 733 (N.D. Ill.

         1980) (in action for breach of contract and violations of Age discrimination in

         employment act, related settlements could not be introduced; quoting

         Weinstein’s). “Even if the fact of the settlement is admissible for a purpose

         other than proof of liability, disclosure of the settlement amount may constitute

         a reversible error.” Id at Weinstein’s § 408.04. Kennon v. Slipstreamer, Inc., 794

         F.2d 1067, 1069 (5th Cir. 1986) (Fed. R. Evid. 408 applies even if the evidence

         favors settling party and is objected to by party not involved in settlement). The

         Court should bar the admissibility of this proposed stipulated fact since it

         violates Rule 408 and precedent.

Plaintiff’s Objection to Defendants Proposed Statement of Claim (Docket No. 64)
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      3. Defendants submitted their proposed statement of claims as Docket No. 64,

          this filing violated this court’s local rules. The rules state that this “statement

          shall be no longer than ½ page with type double-spaced.” Local Rule CV-16.

          Any statement that goes over this page limit should be struck by this Court.

Plaintiff’s Objection to Defendants Proposed Jury Charges (Docket No. 65)

The Majority Hold the FCRA Does Not Provide for Fault Allocation

      4. Defendant seeks an instruction on proportionate responsibility. The FCRA

          provides no fault allocation scheme. The FCRA states:

             “15 U.S.C. § 1681o – Civil Liability for Negligent Non-Compliance
                 (a)       In general
                       Any person who is negligent is failing to comply with any
                       requirement imposed under this subchapter with respect to any
                       consumer is liable to that consumer in an amount equal to the sum of
                       –
                              (1)       Any actual damages sustained by the consumer as a
                                        result of the failure…” 15 U.S.C. § 1681o.
      5. The FCRA does not provide for proportionate responsibility, offset, or any

          other fault allocation scheme. A 2010 opinion collecting cases held that in

          applying these factors, several courts have held that the FCRA does not

          provide an implicit right to contribution or indemnification. McSherry v. Capital

          One FSB, 236 F.R.D. 516, 520-21 (W.D. Wash. 2006); Kay v. First Cont'l

          Trading, Inc., 966 F. Supp. 753, 754-56 (N.D. Ill. 1997); Cintron v. Savit Enters.,

          No. 07-cv-04389(FLW), 2009 U.S. Dist. LEXIS 29813, 2009 WL 971406, at
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   *2-4 (D. N.J. Apr. 9, 2009). Boatner v. Choicepoint Workplace Sols., Inc., No. CV

   09-1502-MO, 2010 U.S. Dist. LEXIS 44264, at *5 (D. Or. 2010)

6. The Zook case, from 2018 collected more recent cases when is provided:

      “For these reasons, multiple courts have held that there is no equitable
      offset for causes of action under either the FCRA or FDCPA. See Vasquez-
      Estrada v. Collecto, Inc., No. 3:14-CV-01422-ST, 2015 U.S. Dist. LEXIS
      142280, 2015 WL 6163971, at *2 (D. Or. Oct. 20, 2015) ("Even if plaintiff
      sought duplicate damages, there is no express or implied right to an offset of
      amounts that plaintiff may have received in settlement from other FCRA
      defendants."); McMillan v. Equifax Credit Information Services, Inc., 153
      F.Supp.2d 129, 132 (D. Conn. 2001) (recognizing that "[c]ourts have found
      that the FCRA does not provide a right to indemnification"); Irwin v.
      Mascott, 94 F.Supp.2d 1052, 1058 (N.D. Cal. 2000) (noting "the FDCPA
      provides very specific and articulated rights and remedies, leading one to
      conclude that if Congress had intended an explicit right to contribution or
      indemnity, it would have included it in the statute"); Kay v. First
      Continental Trading, Inc., 966 F.Supp. 753, 754-55 (N.D. Ill. 1997) (holding
      that the FCRA contains no express provision for contribution); Nelson,
      LLC, 522 F.Supp.2d at 1239 (holding no offset is warranted by virtue of
      plaintiff's settlement with a co-defendant); see also Sloane v. Equifax Info.
      Servs., LLC, 510 F.3d 495, 501 (4th Cir. 2007) (noting that "[a]rguably, the
      'one satisfaction rule' [*6] does not even apply to FCRA claims"); but see
      Williams v. LVNV Funding, LLC, No. 4:15-CV-2219-KOB, 2017 U.S. Dist.
      LEXIS 54845, 2017 WL 1331014, at *1 (N.D. Ala. Apr. 11, 2017) (finding
      that, although the FCRA does not contain a right to offset or contribution,
      the one satisfaction rule still applies).”
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              Zook v. Equifax Info. Servs., LLC, No. 3:17-cv-2003-YY, 2018 U.S. Dist.

              LEXIS 235786, at *5 (D. Or. 2018)

The 11th Circuit’s Minority View

       7. A small minority of courts recognize a fault allocation scheme under the FCRA.

          The most recent of these appears to be a district court in Illinois in Hoerchler v.

          Equifax Info. Servs., LLC, 568 F. Supp. 3d 931 (N.D. Ill. 2021).

       8. Hoerchler refers to the BUC Int'l Corp. v. Int'l Yacht Council Ltd., 517 F.3d 1271

          (11th Cir. 2008). The BUC line of cases includes a few in the 11th Circuit. BUC

          has been cited twice by the 5th, but never for the proposition that the FCRA

          has an unstated statutory damages allocation scheme.

       9. When confronted with the opportunity allocate damages the court in the

          Western District of Missouri declined stating:

              “Experian has failed to convince the Court that the common-law rule of
              joint and several liability should not apply in this action. See The Atlas, 93
              U.S. 302, 23 L. Ed. 863 (1876). Other circuits have recognized that general
              principles of tort liability apply to the FCRA. See Reynolds v. Hartford Fin.
              Servs. Group, Inc., 435 F.3d 1081 (9th Cir. 2006) (determining that joint and
              several liability under the FCRA furthers the statute's consumer protection
              goals) overruled on other grounds by Safeco Ins. Co. of Am. v. Burr, 551 U.S.
              47, 127 S. Ct. 2201, 167 L. Ed. 2d 1045 (2007). If the Court were to rule
              otherwise, it would be virtually impossible to recover damages when
              multiple credit reporting agencies were violating the FCRA in similar ways
              at the same time. That interpretation would be inconsistent with the
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              remedial purpose of the statute. Therefore, Plaintiff is not required to
              allocate her emotional damages between the various credit reporting
              agencies. Summary judgment is denied with regard to Plaintiff's emotional
              distress damages which were caused by Experian or which Experian
              contributed to cause.”
              Campbell v. Experian Info. Sols., Inc., No. 08-4217-CV-C-NKL, 2009 U.S.

              Dist. LEXIS 106045, at *19-20 (W.D. Mo. 2009).

Objection to Defendant’s Proposed Fault Allocation Jury Instruction

       10. Against this background Plaintiff objects to Defendant’s jury instructions

          number 18 and 19.

       11. Adopting the minority view would insert into the FCRA language that

          Congress to not include. Had it intended to provide for any fault allocation

          scheme it could have. It simply does not provide for any right of offset,

          proportionate responsibility, or any other fault allocation scheme. This Court

          should not modify a remedial statute to limit its full force and effect.

Objection to Defendant’s Proposed Bona Fide Error Instruction

       12. Plaintiff expects to resolve this objection via conferring. Should it not, Plaintiff

          additionally object to Defendant’s jury instructions number 16 and 17.

       13. The Fair Credit Reporting Act does not provide for a bona fide error defense

          and a jury instruction on the same is improper. The cases cited by Defendant

          are Fair Debt Collection Practices Act cases and do not apply to Plaintiff’s

          claim.
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Dated: July 20, 2022                      Respectfully Submitted,

                                          /s/William M. Clanton
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Certificate of Conference

I certify that today, I conferred via phone with Colonial’s counsel Mark Cronenwett

concerning the parties’ pre-trial filings. We were unable to agree to removal of the

amount of the confidential settlement with TransUnion from the proposed stipulation of

fact, we agreed that bona fide error defense probably did not apply, and we were unable to

agree to remove Colonial’s proposed instructions on proportionate responsibility.

Signed July 20, 2022

                                                 /s/William M. Clanton
                                                 William M. Clanton
